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                           UNITED STATES DISTRICT COURT
                                   District of Maine



                                                  )
 FRANKLIN SALCEDO,                                )   Docket No. 2:17-CV-00018-JAW
           Plaintiff                              )
                                                  )
 v.                                               )
 MICHAEL VITIELLO, MARIE GERRY,                   )
 YVONNE PEABBLES, CORRECT CARE                    )
 SOLUTIONS LLC and YORK COUNTY,                   )
                 Defendants                       )
                                                  )
                                                  )


    DEFENDANTS YORK COUNTY AND MICHAEL VITIELLO’S ANSWER AND
                      AFFIRMATIVE DEFENSES



       NOW COME Defendants York County and Michael Vitiello, by and through undersigned

counsel, and hereby respond to the allegations contained in Plaintiff’s Complaint as follows:

                                 AFFIRMATIVE DEFENSES

       A. Plaintiff=s Complaint fails to state a cause of action upon which relief may be granted.

       B. Defendant Vitiello is entitled to qualified immunity.

       C. Plaintiff has not suffered any compensable damages resulting from the claims alleged in

Plaintiff=s Complaint.

       D. Plaintiff=s damages, if any, were directly and proximately caused by the acts and/or

omissions of an individual and/or entity other than the Defendants.

       E. Plaintiff=s damages, if any, were directly and proximately caused by a legally sufficient

superseding/intervening cause.
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        F. Plaintiff has failed to mitigate his damages as required by law.

                                            ANSWER

                                        INTRODUCTION

        1. These Defendants deny the allegations contained in Paragraph 1 of Plaintiff’s Complaint.

                                  JURISDICTION AND VENUE

        2. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response.

        3. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants agree that this Court has

jurisdiction over these claims.

        4. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants agree that this Court has

jurisdiction over these claims.

        5. The allegations contained in this paragraph of Plaintiff’s Complaint do not require a

response. To the extent a response is required, these Defendants agree that venue is proper in this

judicial district.

        6. These Defendants deny the allegations contained in Paragraph 6 of Plaintiff’s Complaint.

        7. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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                                              PARTIES

       8. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

       9. These Defendants admit the first sentence of this paragraph. These Defendants deny the

second and third sentences of this paragraph. These Defendants are without sufficient knowledge or

information so as to form a belief as to the truth of the allegations contained in the fourth and fifth

sentences of this paragraph of Plaintiff’s Complaint and therefore deny same.

       10. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       11. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       12. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

       13. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

                                     STATEMENT OF FACTS

       14. These Defendants admit that on September 7, 2016, the Plaintiff was committed to the

custody of the York County as a pre-trial detainee. These Defendants are without sufficient

knowledge or information so as to form a belief as to the truth of the remaining allegations contained

in this paragraph of Plaintiff’s Complaint and therefore deny same.

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       15. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       16. These Defendants admit the allegations contained in this paragraph of Plaintiff’s

Complaint.

       17-46. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

       47. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       48. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       49. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       50. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       51. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

       52. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

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deny same.

       53. These Defendants deny the allegations contained in this paragraph of Plaintiff’s

Complaint.

       54. These Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.

                                      CAUSES OF ACTION

                     Count 1 - 42 U.S.C. § 1983 – Fourteenth Amendment
                   (As to Michael Vitiello, Marie Gerry and Yvonne Peabbles)

       55. These Defendants repeat and reassert their responses to the allegations contained in

Paragraphs 1 through 54 of Plaintiff’s Complaint as if fully set forth herein.

       56-61. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

       62-64. These Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                     Count 2 - 42 U.S.C. § 1983 – Fourteenth Amendment
                    As to Michael Vitiello, Marie Gerry and Yvonne Peanbles

       65. These Defendants repeat and reassert their responses to the allegations contained in

Paragraphs 1 through 64 of Plaintiff’s Complaint as if fully set forth herein.

       66-71. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

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       72-75. These Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                       Count 3 - 42 U.S.C. § 1983 – Fourteenth Amendment
                                As to Correct Care Solutions, LLC

       76. These Defendants repeat and reassert their responses to the allegations contained in

Paragraphs 1 through 75 of Plaintiff’s Complaint as if fully set forth herein.

       77-90. These allegations do not pertain to the County Defendants. To the extent that the

County Defendants are required to respond to any of the allegations contained in these paragraphs of

Plaintiff’s Complaint, these Defendants deny all such allegations.

                       Count 4 - 42 U.S.C. § 1983 – Fourteenth Amendment
                                        As to York County

       91. These Defendants repeat and reassert their responses to the allegations contained in

Paragraphs 1 through 90 of Plaintiff’s Complaint as if fully set forth herein.

       92-95. These Defendants are without sufficient knowledge or information so as to form a

belief as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

       96-103. These Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

       WHEREFORE, these Defendants pray for judgment in their favor against Plaintiff on each

and every count of Plaintiff’s Complaint, plus costs, interest, and attorneys fees.


Dated: February 14, 2017                               /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.



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                                         /s/ Cassandra S. Shaffer
                                        Cassandra S. Shaffer, Esq.
                                        Attorneys for Defendants Vitiello and York
                                        County
                                        Wheeler & Arey, P.A.
                                        27 Temple Street, P.O. Box 376
                                        Waterville, ME 04903-0376




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                            UNITED STATES DISTRICT COURT
                                    District of Maine



                               FRANKLIN              )
 SALCEDO,                                            )    Docket No. 2:17-CV-00018-JAW
      Plaintiff                                      )
                                                     )
 v.                                                  )
 MICHAEL VITIELLO, MARIE GERRY,                      )
 YVONNE PEABBLES, CORRECT CARE                       )
 SOLUTIONS LLC and YORK COUNTY,                      )
                 Defendants                          )
                                                     )
                                                     )


                                CERTIFICATE OF SERVICE


        I, Peter T. Marchesi, Esq., attorney for Defendants Vitiello and York County hereby certify
that:

●       Defendants York County and Michael Vitiello’s Answer and Affirmative Defenses

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

               Zachary L. Heiden, Esq.       zheiden@aclumaine.org
               Jamesa J. Drake, Esq.         jamesa_drake@hotmail.com
               Robert C. Hatch, Esq.         rhatch@thompsonbowie.com


Dated: February 17, 2017                                  /s/ Peter T. Marchesi
                                                         Peter T. Marchesi, Esq.
                                                         Attorney for York County Defendants
                                                         Wheeler & Arey, P.A.
                                                         27 Temple Street, P.O. Box 376
                                                         Waterville, ME 04903-0376




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